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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                               Case No. 22-CR-60101-CANNON/REINHART


    UNITED STATES OF AMERICA

    vs.

    JUAN GUILLERMO GONZALEZ,

                           Defendant.
    ---------------I
                                          PLEA AGREEMENT

           The United States of America, by and through the undersigned Assistant United States

    Attorney (hereinafter referred to as "this Office"), and Juan Guillermo Gonzalez (hereinafter

    referred to as the "Defendant"), enter into the following agreement:

           1.      The Defendant agrees to plead guilty to the Information. The Information charges

    that the Defendant knowingly and willfully aided and abetted others to intentionally access a

    computer without authorization and thereby obtain information from departments and agencies of

    the United States for purposes of commercial advantage and private financial gain, in violation of

    18 U.S.C. §§ 1030(a)(2), (c)(2)(B)(i), and 2.

           2.      The Defendant acknowledges that he has read the charge against him contained in

    the Information and that the charge has been fully explained to him by his attorney.

           3.      In consideration of the undertakings contained herein , this Office agrees that it will

    not pursue any additional charges related to the defendant' s involvement in criminal activity in the

    Southern Di strict of Florida that was the subject of this Office's investigation bearing USAO

    Numbers 2017R01 l 52, 2022R00712, and 2022R00713.
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            4.     The Defendant is aware that th e sentence w ill be imposed by the Court after

    considerin g th e advisory Federal Sentencing Guidelines and Policy Statements (here inafter

    " Sentencing Guidelines"). The Defendant acknowledges and understands that the Court w ill

    compute an advisory sentence under the Sentencing Guidelines and that the applicable guidelines

    wi ll be determined by the Court relying in part on the results of a pre-sentence investigation by the

    Court ' s probation office, which investigation w ill commence after the guilty plea has been entered .

    The Defend ant is also aware that, under certain ci rcumstances, the Court may depart fro m the

    advisory sentencing guid eline range that it has computed, and may raise or lower that advisory

    sentence under th e Sentencing Guidelines. The Defendant is furth er aware and understands that

    the Court is required to consider the advisory guideline range determi ned under the Sentencing

    Guid elines, but is not bound to impose a sentence w ithin that advisory range; the Court is permitted

    to ta il or the ultimate sentence in light of other statutory concerns, and such sentence may be either

    more severe or less severe than the Sentencing Guidelines ' advisory range. Knowing th ese facts,

    the Defendant und erstands and acknowledges th at th e Court has the authority to impose any

    sentence w ithin and up to the statutory maximum auth ori zed by law for the offense identified in

    paragraph 1 and that the Defendant may not w ithdraw the plea so lely as a res ult of the sentence

    imposed.

           5.      The Defendant also understands and acknowledges that, as to the charge conta ined

    in the Informati on, the Court may impose a statutory max imum term of imprisonment of up to fi ve

    (5) years. In additi on to any term of imprisonment, the Court may also impose a peri od of

    superv ised release of up to three (3) years to commence at the conclusion of the period of

    impri sonment. In addition to a term of impri so nment and supervised release, the Co urt may




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    impose a fi ne of up to the greater of $250,000, pursuant to 18 U.S.C. § 357 1(b)(3), or tw ice the

    pec uniary gain or loss, pursuantto 18 U.S .C. § 35 71 (d).

            6.      The Defendant fu rther understands and acknowledges that, in additi on to any

    sentence imposed under paragraph five (5) of this agreement, a special assessment of $ 100 wi ll be

    imposed on the Defendant. The Defendant agrees that any special assessment imposed shall be

    paid at the time of sentencing.

            7.      The Defendant understands and acknowledges that as a result of this plea, he may

    be excluded from fu ture participati on in governm ent contracts and grants under the Small Business

    Innovative Research (SBIR) Program, the Small Business Technology Transfer (STIR) Program,

    and other federal programs.

            8.      The Defendant shall provide the P robatio n Office and co unsel fo r th is Office w ith

    a fu ll , complete, and accurate perso nal fi nancial statement. If the Defendant prov ides incomp lete

    or untruthful statements in hi s personal fin ancial statement, such acti on shall be deemed a material

    breach of this agreement and thi s Office shall be free to pursue all appropriate charges agai nst him

    notwithstanding any agreements to forbear fro m bringi ng additi onal charges as may be otherwise

    set forth in thi s agreement.

            9.      Th is Office reserves the right to info rm the Court and the Probation Offi ce of all

    facts pertinent to the sentencing process, including all re levant info rm ati on concern ing the offenses

    committed, whether charged or not, as we ll as concerni ng the Defendant and the Defendant's

    background . Subj ect only to the express terms of any agreed-upon sentencing recommendations

    conta ined in this plea agreement, thi s Office further reserves the right to make any

    recommendation as to the quality and quantity of puni shment.




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            10.     Provided that the Defendant commits no new criminal offenses and provided that

    he continues to demonstrate an affirmative recognition and affirmative acceptance of personal

    responsibility for his criminal conduct, this Office agrees that it wi ll recommend at sentencing that

    the Defendant receive a three-level reduction for acceptance of responsibility pursuant to Section

    3E l .1 of the Sentenc ing Guidelines, based upon the Defendant's recognition and affirmative and

    timely acceptance of personal responsibility. This Office, however, will not be required to make

    this sentencing recommendation if the Defendant: (1) fai ls or refuses to make a full , accurate, and

    complete disclosure to this Office and the Probation Office of the circumstances surro unding the

    relevant offense cond uct and his present financial cond iti on; (2) is found to have misrepresented

    facts to this Office prior to entering this plea agreement; or (3) commits any misconduct after

    entering into this plea agreement, including but not limited to committing a state or federal offense,

    violating any term of release, or making fa lse statements or misrepresentations to any

    governmenta l entity or official.

            11.     The Defendant adm its and acknowledges that the following facts are true and that

    this Office cou ld prove them at trial beyond a reasonable doubt:

                    a.     that the Defendant's offense level should be calculated pursuant to U.S.S.G.

            § 2B 1.1 ;

                    b.     that the loss was more than $1,500,000 and less than $3,500,000;

                    c.     that the Defendant knowingly and willfully aided and abetted S.F., R.N. ,

           and other non-U.S. persons to intentionally access computers w ithout authorization and

           thereby obtain informat ion from a number of government departments and agencies, that

           is, the Department of the Army, the Missile Defense Agency, the Defense Advanced

           Research Projects Agency, and the National Aeronautics and Space Administration;



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                    d.      that the Defendant' s parti cipati on m thi s conduct was for purposes of

            commerc ial advantage and private financial gai n; and

                    e.      that the offense invo lved computer systems used by or for governmental

            entities in furtherance of the national defense and national security.

            12.     A lthough not binding on the Probati on Office or the Court, this Office and the

    Defendant further agree that they w ill jointly recommend that the Court neither depart upward nor

    depart downward under the Sentencing Guidelines when determining the advisory sentencing

    guid eline range in this case. Both parties are free to seek a variance from the applicable Guideline

    sentence pursuant to the factors in Title 18, United States Code, Section 3553(a).

            13.     The Defendant agrees, in an individual and any other capacity, to forfeit to the

    United States, vo luntarily and immed iately, any right, title, and interest to any property

    constituting, or derived from , proceeds obtained, directly or indirectly, as the result of the offense

    charged in the Info rmation, pursuant to 18 U.S .C. § 982(a)(2)(B) and 18 U .S.C. § 1030(i); and any

    personal property used, or intended to be used, to commit such offense, pursuant to 18 U.S .C. §

    1030(i). The Defendant agrees to forfeiture of substitute property pursuant to 21 U.S.C. § 853(p).

    The property subj ect to forfeiture includes, but is not limited to:

                    a. a forfeiture money judgment in the amount equal to the va lue of the gross

                         proceeds traceabl e to the offense, that is, approximately $ 1,749,776.80.

            14.     The Defendant further agrees that forfeiture is independent of any assessment, fine ,

    cost, restitution, or penalty that may be imposed by the Court. The defendant knowingly and

    vo luntarily agrees to wa ive all constitutional, legal, and eq uitable defenses to the forfeiture,

    including excessive fines under the Eighth Amendm ent to thi s Office Constitution. In additi on, the




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    defendant agrees to waive: any applicable time limits for administrative or judicial forfeiture

    proceedings, the requirements of Fed. R. Crim. P. 32.2 and 43(a), and any appeal of the forfeiture.

            15 .   The Defendant also agrees to fully and truthfully disclose the existence, nature and

    location of all assets in which the Defendant has or had any direct or indirect financial interest or

    control, and any assets involved in the offense of conviction. The Defendant agrees to take all steps

    requested by this Office for the recovery and forfeiture of all assets identified by this Office as

    subject to forfeiture. This includes, but is not limited to, the timel y delivery upon request of all

    necessary and appropriate documentation to deliver good and marketable title, consenting to all

    orders of forfeiture, and not contesting or impeding in any way with any criminal, civil or

    administrative forfeiture proceeding concerning the forfeiture.

           16.     In furtherance of the satisfaction of restitution and a forfeiture money judgment

    entered by the Court in this case, the Defendant agrees to the following:

                   a.      submit a financial statement to thi s Office upon request, within 14 calendar

           days from the request;

                   b.      maintain any asset valued in excess of $10,000, and not sell, hide, waste,

           encumber, destroy, or otherwise devalue such asset without prior approval of this Office;

                   c.      provide informati on about any transfer of an asset valued in excess of

           $10,000 since the commencement of the offense conduct in this case to date;

                   d.      cooperate fully in the investigation and the identification of assets,

           including liquidating assets, meeting with representatives of the United States, and

           providing any documentation requested; and




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                   e.      notify, within 30 days, the Clerk of the Court for the Southern District of

            Florida and this Office of: (i) any change of name, residence, or mailing address, and (ii)

           any material change in economic circumstances.

            17.    The Defendant further understands that providing false or incomplete information

    about assets, concealing assets, making materially fa lse statements or representations, or making

    or using false writings or documents pertaining to assets, taking any action that would impede the

    forfeiture of assets, or fa iling to cooperate fully in the investigation and identification of assets

    may be used as a basis for: (i) separate prosecution, including, under 18 U.S.C. § 1001; or (ii)

    recommendation of a denial of a reduction for acceptance of responsibility pursuant to the United

    States Sentencing Guidelines § 3El. I.

            18.    The Defendant acknow ledges that because the offense of conv iction occurred after

    Apr il 24, 1996, restitution is mandatory without regard to the Defendant's ability to pay and that

    the Co urt must order the Defendant to pay restitution for the full loss caused by his criminal

    conduct pursuant to Title 18, United States Code, Section 3663A. Furthermore, the Defendant

    stipulates that he owes restitution in the amount of approximately $1 ,749,776.80 jointly and

    severally with Accelogic LLC and Intellectual Property Systems, LLC.

           19.     The Defendant recognizes that pleading guilty may have consequences w ith respect

    to the Defendant's immigration status if the Defendant is not a citizen of the United States. Under

    federal law, a broad range of crimes are removable offenses. Removal and other immigration

    consequences are the subject of a separate proceeding, however, and defendant understands that

    no one, including the defendant' s attorney or the Court, can predict to a certainty the effect of the

    defendant's conviction on the defendant' s immi gration status. Defendant nevertheless affirms that

    the defendant wants to plead guilty regard less of any immigration consequences that the



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    defendant' s plea may entail , even if the consequence is the defendant' s automatic removal from

    the United States.

           20.     The Defendant is aware that the sentence has not yet been determined by the Court.

    The Defendant is also aware that any estimate of the probable sentencing range or sentence that

    the Defendant may receive, whether that estimate comes from the Defendant' s attorney, this

    Office, or the Probation Office, is a prediction, not a promise, and is not binding on this Office,

    the Probation Office, or the Court. The Defendant understands further that any recommendation

    that this Office makes to the Court as to sentencing, whether pursuant to this agreement or

    otherwise, is not binding on the Court and the Court may disregard the recommendation in its

    entirety. The Defendant understands and acknowledges, as previously acknowledged in paragraph

    four (4) above, that the Defendant may not withdraw his plea based upon the Court' s decision not

    to accept a sentencing recommendation made by the Defendant, this Office, or a recommendation

    made jointly by both the Defendant and this Office.

           21.     The Defendant is aware that Title 18, United States Code, Section 3742 affords him

    the right to appeal the sentence imposed in this case. Acknowledging this, in exchange for the

    undertakings made by this Office in this plea agreement, the Defendant hereby waives all rights

    conferred by Section 3742 to appeal any sentence imposed, including any forfeiture or restitution

    ordered, or to appeal the manner in which the sentence was imposed, unless the sentence exceeds

    the maximum permitted -by statute or is the result of an upward departure and/or an upward

    variance from the Sentencing Guidelines range that the Court establishes at sentencing. The

    Defendant further understands that nothing in this agreement shall affect the right of this Office

    and/or its duty to appeal as set forth in Title 18, United States Code, Section 3742(6); however, if

    thi s Office appeals the Defendant's sentence pursuant to Section 3742(6), the Defendant shall be



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    released from the above waiver of appellate rights. By signing this agreement, the Defendant

    acknowledges that he has discussed the appeal waiver set forth in this agreement with his attorney.

    The Defendant further agrees, together with this Office, to request that the District Court enter a

    specific finding that the Defendant's waiver of his right to appeal the sentence to be imposed in

    this case was knowing and voluntary.

           22.     The Defendant agrees that if he fails to comply with any of the provisions of this

    Agreement, makes false or mi sleading statements before the Court or to any agents of this Office,

    commits any further crimes, or attempts to withdraw the plea, this Office will have the right to

    characterize such conduct as a breach of this agreement. In the event of such a breach: (a) this

    Office wi 11 be free from its obligations under the agreement and further may take whatever position

    it believes appropriate as to the sentence and the conditions of the Defendant's release (for

    examp le, should the Defendant commit any conduct after the date of this agreement that would

    form the basis for an increase in the Defendant's offense level or justify an upward departure); (b)

    the Defendant will not have the right to withdraw the guilty plea; (c) the Defendant shall be fully

    subject to criminal prosecution for any other crimes that he has committed or might commit, if

    any, including perjury and obstruction of justice; and (d) the Defendant waives any protections

    afforded by Section lB 1.8(a) of the Sentencing Guidelines, Rule 11 of the Federal Rules of

    Criminal Procedure, and Ru le 410 of the Federal Rules of Ev idence, and this Office will be free to

    use against the Defendant, directly and indirectly, in any criminal or civil proceeding, any

    information, statements, and materials provided by the Defendant, including any factual proffers,

    in-court testimony, or interviews. The defendant further waives any claim that such prosecution

    is time-barred where the statute of limitations - as extended by the parties' Sixth Extension of




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      Statute of Limitations Tolling Agreement - has expired between the signing of this agreement and

      the commencement of any such prosecution.

              23 .   This is the entire agreement and undersijinding between this Office and the

      Defendant. There are no other agreements, promises, representations, or understandings.

                                                  JUAN ANTONIO GO ZALEZ
                                                  UNITED STA TES ATTORNEY
                                                  SOUTHER DISTRICT OF FLORIDA


      Date:   ro/'l,/z_oz...:z_
                                                  ASSISTANT UNITED STATES                       EY



      Date:
                                                  JUAN GUILLERMO GONZALEZ
                                                  DEFENDANT



      Date:    6/7/2022
                                                  PETER ZEIDENBERG, ~.
                                                  COUNSEL FOR DEFENDANT




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                           CASE NO. 22-60101-CR-CANNON/REINHART


    UNITED STATES OF AMERICA

    vs.

    JUAN GUILLERMO GONZALEZ,

           Defendant.
                                                  I

                                         FACTUAL PROFFER

            The United States Attorney's Office and Juan Guillermo Gonzalez (hereinafter referred to
    as the "Defendant") stipulate and agree that, if this case had proceeded to trial, the United States
    wou ld have proven the follow ing facts beyond a reasonable doubt, and these facts provide a
    sufficient basis for the Defendant' s gui lty plea:

            1.     The Defendant was a founder, a Managing Member, and the President of Accelogic
    LLC ("Accelogic"). Accelogic was a limited liability company originally formed in the State of
    Delaware on April 8, 2005 , that remained registered with the State of Delaware until canceled by
    the Defendant on April 1, 2017. Although registered in Delaware, Accelogic was located in
    Broward County, Florida, in the Southern District of Florida from at least as early as May 2005
    through the date of the Information. On November 26, 2008, the Defendant, on behalf of
    Accelogic, filed an application with the Florida Division of Corporations for authorization to
    transact business in Florida. On March 27, 2017, the Defendant filed Articles of Conversion to
    convert Accelogic from a Delaware LLC to a Florida LLC.

            2.     The Defendant also was a founder and a Managing Member oflntellectual Property
    Systems, LLC, a/k/a "lntellep" ("Intellep"). lntellep was a limited liability company originally
    formed in the State of Delaware on Apri l 12, 2001 , that remained registered with the State of
    Delaware until canceled by the Defendant on April 1, 2017. Although registered in Delaware,
    Intellep was located in Broward County, Florida, in the Southern District of Florida from at least
    as early as May 2005 through the date of the Information. On January 15, 2009, the Defendant,
    on behalf of Intellep, filed an application with the F lorida Division of Corporations for
    authorization to transact business in Florida. On March 22, 2017, the Defendant filed Articles of
    Conversion to convert Intellep from a Delaware LLC to a Florida LLC.

           3.       From 2008 through 2020, most of Accelogic ' s income came from Small Business
    Innovation Research Program (SBIR) and Small Business Technology Transfer (STTR) contracts
    and grants that were funded by federal agencies, including the U.S . Air Force, the U.S. Army, the
    Defense Advanced Research Projects Agency (DARPA), the Missile Defense Agency (MDA), the
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    Department of Energy (DOE), and the National Aeronautics and Space Administration (NASA).
    The SBIR and STTR programs were highly competitive programs set up to encourage small U.S.-
    based businesses to engage in federal research and development with the potential for
    commercialization and to stimulate the U.S. economy. For those reasons, and due to the sensitive
    nature of some of the research undertaken as part of the programs, the contracts specified that all
    research and development work sponsored by the contracts needed to take place inside the United
    States. Some of the contracts also specified that certain types of work could only be performed by
    "U.S. persons," which was defined as United States citizens and legal permanent res idents only.

            4.      For al l of the contracts and grants that were awarded to Accelogic, the Defendant
    oversaw the preparation of the proposals; he approved the submission of the proposals; he was
    listed as the Principal Investigator; and he either handled all negotiations himself or authorized
    and delegated the negotiations to trusted persons. As Principal Investigator, the Defendant also
    conducted research and development and oversaw others ' work on the SBIR and STTR contracts.
    The Defendant was also responsible for deciding which Accelogic employees and consultants
    wou ld work on the contracts.

            5.     Section I 030 of Title 18 defines the term "computer" to include "an electron ic,
    magnetic, optical, ... or other high speed data processing device performing logical , arithmetic,
    or storage functions, and includes any data storage facility directly related to or operating in
    conjunction w ith such device ... " 18 U.S.C. § 1030(e)(l). This includes file sharing and storage
    on remote data servers whereby software or other information is posted on a data storage facility
    that can be accessed remotely by a processing unit that downloads and makes use of the
    downloaded software/information.

            6.      Section 1030 of Title 18 further defines the term "protected computers" to include:
    (1) computers (as defined above) used exclusively for the United States Government; or, (2)
    computers (as defined above) used by or for the United States Government and the conduct
    constituting the offense affects that use. 18 U.S.C. § 1030(e)(2).

                              ARMY CONTRACT W911W6-16-C-0007

            7.      On or about October 28, 2015 , the Defendant, on behalf of Accelogic, submitted a
    proposal for an SBIR contract with the Army, valued at $159,993.00, entitled "Industrial-Quality
    Porting of the Army's Helios CFD Code into Xeon-Phi Enabled Systems - A Process-Based
    Approach for Maximal Speedup." As part of that proposa l, Accelogic agreed that it wou ld deve lop
    a proof-of-concept prototype that wou ld demonstrate the abi li ty of Accelogic's software
    acceleration technology to provide very large speedups for DoD 's Helios software.

            8.     As part of its proposal, Accelogic was required to confirm that all work would take
    place inside the United States and also to disclose whether any Foreign Citizens would work on
    the project. The Defendant, on behalf of Accelogic, confirmed that all R&D work would take
    place at Accelogic's business premises. And the Defe ndant, on behalf of Accelogic, disclosed
    only one non-U.S . person: "One of the emp loyees expected to assist in the development of the
    proposed technology (including algorithms and software prototypes), namely [R.N.], is a
    Colombian citizen working on HlB status."


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             9.      During the review of the proposal , two of the evaluators expressed concern that
    [R.N .] had been proposed as a key staff member, noting that, "One member of proposed key staff
    is H lB foreign national, may restrict access to ITAR codes"; and "One of the proposed
    collaborators is a foreign national on HlB status. Because Helios is subject to export control
    restrictions this individual may get limited access to Helios."

            10.     Accelogic ' s proposal was selected, and the Defendant engaged in negotiations for
    the contract. During those negotiations, the Defendant confirmed that all work would be
    performed in the United States. The contract, numbered W911W6-16-C-0007, was signed on
    October 27, 2015, and had an effective date of October 27, 2015. The contract incorporated by
    reference the ITAR and EAR restrictions on using foreign nationals and not allowing work outside
    the United States.

            11.     As part of its work on the Army contract, the Defendant and other Accelogic
    employees were given access to the Army ' s Cart-p software, a subset of SAMCart, subject to a
    software license agreement between the Department of Defense (represented by the High
    Performance Computing Modernization Program (HPCMP)) and Accelogic. The Defendant
    signed the HPCMP License Agreement, which specified that Accelogic could not redistribute the
    software or allow a contractor or subcontractor to use the software unless pre-approved in writing
    by HPCMP, and such pre-approval was limited to use by U.S. contractors or sub-contractors. The
    Agreement further warned Accelogic that the software was subject to the Arms Export Control
    Act or the Export Administration Act of 1979 and violations of those acts could result in criminal
    penalties. The Agreement informed Accelogic that it had to obtain written approval from the
    Contracting Agency prior to assigning work or granting access to the software to any non-U.S.
    person.

                                 MDA CONTRACT HO014718C7211

            12.     On or about June 21 , 2017, the Defendant, on behalf of Accelogic, submitted a
    proposal for a Phase I SBIR contract with the MDA, valued at $154,987.86, entitled "Industrial-
    Quality Acceleration of MD A ' s Missile Defense Simulation Infrastructures -A Novel Theory of
    Optimal Data Compression Inspired on the OSF." As part of that proposal , Accelogic agreed that
    it would "establish for the first time the revolutionary theory of ' speedup centric' optimal
    compression . . . along with a powerful battery of novel OSF-inspired compression methods and
    implementation innovations necessary for substantially accelerating the performance of MDA ' s
    Objective Simulation Framework (OSF) through data compression." Accelogic promised to
    prepare a fully functional prototype addressing both real-time and file-transfer operation modes in
    OSF simulations, relying on synthetic and publicly available data, as well as OSF sample datasets
    promised by defense contractor Teledyne that involved confidential government information.

            13.    As part of its proposal , Accelogic was required to confirm that, during the
    performance of the award, the research/research and development would be performed in the
    United States, and the proposal promised that, during the performance of the award, the
    research/research and development, would be performed atAccelogic ' s offices in Weston, Florida.

           14.    Accelogic's proposal was selected, and, with the Defendant' s approval, Accelogic
    engaged in negotiations for the contract. During those negotiations, the Defendant signed a written

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    certification-that warned him of criminal penalties for fa lse statements-that all
    research/research and development work would be performed in the United States. The Defendant
    disclosed that three non-U.S. citizens would work on the contract - himse lf, R.N. , and S.F. The
    Defendant stated that no other non-U.S. persons wou ld work on the contract. MDA approved the
    Defendant' s and R.N. ' s work on the MDA project. On October 11 , 20 17, MDA informed the
    Defendant that because the contract could produce export control information, S.F. was not
    authorized to perform work on the contract. On the same day, the Defendant responded to MDA
    stating that he would remove S.F. from the project and stating that A .H. would perform the work
    instead. In truth and in fact, A.H. did not perform any R&D work on the project, and S.F. continued
    to work as one of the main participants on the project.

            15.     The Defendant, on behalf of Acce logic, a lso completed a Certification Pertaining
    to Foreign Interests on behalf of Accelogic and stated that Accelogic did not own l O percent or
    more of any foreign interest; and that Accelogic "does not have any co ntracts, agreements,
    understandings, arrangements, indebtedness, liabilities or obligations with any other foreign
    person." The Defendant further wrote that three individuals, including J.P., "provide occasional
    hourly-based consulting to Accelogic on advanced technical aspects" but stated that none of those
    individuals - including J.P. - would work on the project with MDA. The Defendant did not
    disclose that J.P. owned and worked for Merida Tech, a business located in Venezuela, and that
    Merida Tech would, in fact, work on activities that would support the MDA project.

             16.    The contract also contained a provision stating that distribution of any technical
    documents (which was defined to include recorded information and software that conveyed
    scientific and technical information and technical data) prepared under the SBIR contract, in any
    state of development or completion, was prohibited outside of the contractor and applicable
    subcontractors under the contract unless authorized by the Contracting Officer in writing. The
    contract also notified the Defendant that all technical documents prepared under the Contract
    needed to be marked with the fo llowing:

           WARNING : This document contains technical data whose export is restricted by
           the Arms Export Control Act (Title 22, U.S.C., Sec 2751 , et seq.) or the Export
           Administration Act of 1979 (Title 50, U.S.C., App. 240 1 et seq), as amended.
           Violations of these export laws are subject to severe criminal penalties.
           Disseminate in accordance with provisions of DoD Directive 5230.25 .

            17.   Despite the Defendant' s representations and the specific notifications from MDA
    regarding the sensitive nature of the project and the prohibitions on involvement of non-U.S.
    persons and the requirement that all work occur inside the United States, the Defendant involved
    Merida Tech and J.P. in the MDA project.

            18.    In early December 2017, the Defendant traveled to Venezue la via Colombia to meet
    with J.P. and other Merida Tech employees. The Defendant brought computer equipment and
    information about the MDA project with him and shared that information with J.P . and other
    Merida Tech employees without authorization from MDA. The Defendant returned to the United
    States on December 12, 2017, en route to a meeting about the project at MDA on December 13 ,
    2017 . When encountered by Customs & Border Protection Officers at the Houston airport upon


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    re-entering the United States, the Defendant adm itted to contracting jobs w ith Merida Tech, but
    he never disclosed that information to MDA or any other SBIR or STTR agency.

            19.    In addition to the information shared by the Defendant during his December 20 17
    meeting, the Defendant shared the project's confidential datasets with Merida Tech for Merida
    Tech to perform testing. The Defendant also provided drafts and final versions of the Final Report
    for the MDA, bearing the Arms Export Contro l Act Warning, which employees of Merida Tech
    reviewed and revised. This information was shared via cloud file-storage platforms and emails.

                                 DARPA CONTRACT IND17PC00012

            20.    On or about April 29, 2016, the Defendant, on behalf of Accelogic, submitted a
    proposal for a Phase II SBIR contract with DARPA, valued at $1 ,510,000, entitled "Enabling
    Extreme Acceleration of Graph Analytics in Real-World Appl ications." As part of that proposal,
    Acce logic agreed that it would complete seventeen tasks, resulting in Accelogic implementing "a
    revolutionary technology that wi ll change the paradigm of how network analysis in cybersecurity
    is done today." Acce logic proposed to create an accelerated STINGER prototype, fo llowed by an
    accelerated Neo4j prototype, and lastly a proprietary software prototype named "SOCnow" (for
    "Secur ity Operations Center now").

            21.    As part of its proposal, Accelogic was required to confirm that the research/research
    and development work on the award wo uld take place inside the Un ited States and also to disclose
    whether any Foreign Citizens wo uld work on the project. The Defendant, on behalf of Accelogic,
    disclosed only one fore ign citizen-S.F.- and did not disclose any plan to conduct any wo rk
    outside the United States.

            22.     Acce logic ' s proposal was selected for award. In the award notification letter, which
    was addressed to the Defendant, DARPA reminded the Defendant that "the International Traffic
    in Arms Regulations (ITAR), 22 CFR Parts 120 through 130, and the Export Admini stration
    Regulations (EAR), 15 CFR Parts 730 through 799, will app ly to all projects with military or dual-
    use app lications that develop beyond fundamenta l research ... If use of foreign citizens has been
    proposed, you must be ab le to specify their country of origin, the type of visa or work permit under
    which they are perform ing and an exp lanatio n of their anticipated level of involvement on this
    project."

            23.     The Defendant engaged in negotiations for the contract. The contract, numbered
    IND l 7PC000 12, was signed on October 24, 20 16, and had an effective date of October 24, 2016.
    The contract specifi ed that prior approval from the Contracting Officer was requ ired before using
    any foreign national as an emp loyee or a su bcontractor to do any work on the contract. The
    contract also had a "Buy American" clause that required Accelogic to use American-made
    equipment and products. The contract required prior approval from DARPA for the dissemination
    or publication of information developed under the contract outside of Accelogic. The contract
    further specified Acce logic ' s obligations w ith regard to the U.S. export control laws and
    regulations, including IT AR and EAR. During those negotiations, the Defendant confirmed that
    all work on the contract would be performed inside the Un ited States at Accelogic' s business
    premises and in accordance with the Statement of Work contained in Acce logic ' s proposal.


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            24.    While conducting the work on the DARPA SBIR contract, Accelogic asked
    DARPA to provide Accelogic with datasets to use in developing Accelogic's prototypes. DARPA
    provided network data to Accelogic via its Program Manager that contained real-life graph data
    structures from DARPA 's network applications .

                          NASA CONTRACT# NNX16CA11C {PHASE II)

            25.     On or about December 17, 2015, the Defendant, on behalf of Accelogic, submitted
    a Phase II proposal for an SBIR contract with NASA, valued at $755,000, entitled "Accelerating
    Memory-Access-Limited HPC Applications via Novel Fast Data Compression." As part of that
    proposal, Accelogic agreed to "develop and exploit the new field of Compressive Computing,"
    spearheaded by the company, as applied to memory-access acceleration, and then " move boldly
    into tackling the acceleration of a real-life high-profile code, namely NASA's Cart3D, improving
    its performance by a paradigm-shifting 2x to 4x end-to-end wall-clock time acceleration by the
    end of Phase II." Accelogic also agreed to "accommodate Cart3D to become ' future-machines-
    ready,' such that the resulting code [could] easily be ported to the imminent HPC computer
    architectures of the following decade." Lastly, Accelogic also proposed to " inject[] a second
    NASA code with basic Compressive Computing techniques, and provid[e] it with base levels of
    acceleration of - l .3-2x." Pursuant to the Phase I portion of the contract, Accelogic requested
    access to NASA's CART3D, FUN3D, and TetrUSS/USM3D software code. NASA granted
    permission subject to the required software usage agreements.

            26.   Accelogic's Phase II work plan contained three objectives: (1) full optimization of
    Accelogic's compressive computing in NASA's Cart3D software; (2) developing data reordering
    solutions to improve compression; and (3) developing data structure revamping solutions to
    improve vectorization and implement lossy compression schemes and arithmetic pruning to make
    Cart3D (or other NASA software programs) more amenable to compression. Accelogic also
    proposed to accelerate a second top HPC NASA code, including packaging and extensions.

            27.     As part of its proposal, Accelogic was required to confirm that all work would take
    place inside the United States; to disclose all subcontractors and consultants who would work on
    the contract; and to confirm that the contract would be performed in accordance with IT AR export
    control regulations. The Defendant, on behalf of Accelogic, confirmed that all R&D work would
    take place at Accelogic's business premises and in accordance with IT AR export control
    regulations. And the Defendant, on behalf of Accelogic, disclosed several consultants, but made
    no mention of Merida Tech, its owner, J.P. , or any of its employees.

            28.    Accelogic's proposal was selected, and the Defendant engaged in negotiations for
    the contract. During those negotiations, the Defendant confirmed that all work would be
    performed inside the United States at Accelogic's business premises and in accordance with the
    Statement of Work contained in Accelogic's proposal. The contract, numbered NNX16CA 11 C,
    was signed on April 27, 2016, and had an effective date of April 27, 2016. The contract had a
    number of specifications requiring Accelogic to notify NASA prior to engaging any subcontractors
    or making any changes to the list of personnel who would work on the contract or the facilities
    where the work would be performed. The contract also contained additional notices regarding
    IT AR and Export Administration Regulations. The Defendant, on behalf of Accelogic, also agreed
    that he had read and agreed to NASA's IT Security Management Plan.

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          29.      In connection with Accelogic's work with NASA, the Defendant, on behalf of
    Accelogic, signed a series of confidentiality agreements, including the following:

                   a.      On October 24, 2013 , the Defendant, on behalf of Accelogic, signed a
           Software Usage Agreement, regarding the FUN3D 12.0, KNIFE, and REFINE software
           programs. Pursuant to that agreement, the Defendant acknowledged that the software
           would only be released to employees of Accelogic and that there could be no further
           distribution of the software, its source code, the executable code, the associated run-time
           applications, or any subset thereof, without NASA ' s express prior written approval. The
           agreement further stated, in bold text, that the software was intended for domestic use only
           and "shall not" be made available to anyone outside of the United States. In addition, the
           agreement stated that within the United States, the software " shall not" be made available
           to foreign persons. The agreement advised the Defendant and Accelogic that failure to
           obtain necessary export licenses could result in criminal liability.

                   b.      Also on October 24, 2013, the Defendant, on behalf of Accelogic, signed a
           Software Usage Agreement, regarding the TetrUSS software program. Pursuant to that
           agreement, the Defendant acknowledged that the software would only be released to
           employees of Accelogic and that there cou ld be no further distribution of the software, its
           source code, the executable code, the associated run-time applications, or any subset
           thereof, without NASA ' s express prior written approval. The agreement further stated, in
           bold text, that the software was intended for domestic use only and "shall not" be made
           available to anyone outside of the United States. In addition, the agreement stated that
           within the United States, the software "shall not" be made available to foreign persons.
           The agreement advised the Defendant and Accelogic that failure to obtain necessary export
           licenses could result in criminal liability.

                   c.     On May 15, 2014, the Defendant, on behalf of Accelogic, signed a
           Nondisclosure and Software Usage Agreement regarding the CART3D software, and
           related technical data and software.       Pursuant to that agreement, the Defendant
           acknowledged that the software and technical data could only be disclosed to Accelogic
           employees. In addition, the agreement stated that the NASA software and technical data
           were intended for domestic use only and "shall not" be made available to anyone outside
           the United States and, within the United States, " shall not" be made available to foreign
           persons. Further, the restrictions on use, disclosure, and distribution applied to any
           computer software or data that Accelogic developed that incorporated any portion of the
           NASA software or technical data. The Defendant, on behalf of Accelogic, certified that
           neither Accelogic nor any authorized user to whom it would distribute the NASA software
           or technical data would be a foreign person.

             KNOWING UNAUTHORIZED ACCESS AND FINANCIAL BENEFIT

            30.      In connection with the performance of each of the contracts, the Defendant was
    made aware, through written agreements and warnings, that non-U.S. persons could not access
    government agency information on government computers, including government remote data
    storage facilities. The non-U.S. persons with whom the Defendant was working, that is, R.N.,
    S.F., and the owner and employees of Merida Tech, also were aware that they were not authorized

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      to access the government agency information and the government computers, including
      government data storage facilities. Despite this knowledge, the Defendant aided and abetted RN.,
      S.F., and the Merida Tech owner and employees to intentionally access government secure file-
      sharing systems and software without authorization, including Cart-p, MDA 's technical data and
      datasets, DARPA's datasets and graph data structures, NASA's software, including CART3D,
      FUN3D, and TetrUSS/USM3D; and to perform research a'fld development, including testing and
      implementation of the Graphk User Interfaces (GUI interfaces) for the barebones and fully-
      featured prototypes; creation of performance and validation reports that required running the
      government software; work on implementing the software for optimizing the NPB-CG benchmark
      testing; and running experiments to characterize the performance of the software. The experiments
      and tests done by Merida Tech personnel were conducted in Venezuela, not on Accelogic' s
      premises, by persons who were not disclosed to or approved by any of the government agencies.

              31.    The Defendant aided and abetted R.N., S.F., and the Merida Tech owner and
      employees for purposes of commercial advantage and private financial gain, that is, by using R.N .,
      S.F., and the Merida Tech owner and employees, Accelogic was able to complete the research and
      development at a lower cost than if they had not been used. The Defendant, as a founder and
      Managing Member of Accelogic and Intellep, benefitted from the resulting commercial advantage
      and financial gain.

             The United States and the Defendant agree that these facts, which do not include all of the
      facts known to the United States and to the Defendant, are sufficient to prove the guilt of the
      Defendant as to the crime of aiding and abetting persons, that is, R.N., S.F., and the Merida Tech
      owner and employees, to intentionally access a computer without authorization and thereby obtain
      information from a department or agency of the United States for purposes of commercial
      advantage and private financial gain; in violation of Title 18, United States Code, Sections
      1030(a)(2), (c)(2)(B)(i), and 2.                           ..

                                                   JUAN ANTO IO GONZALEZ
                                                   UNITED STATES ATTORNEY


      Date:   ro/~2Z,                       By:
                                                   ~
                                                   ASSISTANT UNITED STATES ATTORNEY



      Date:                                 By:
                                                   PETER ZEIDENBERG, E
                                                   ATTORNEY FOR DEFENDANT



      Date:                                 By:     4-ii:$
                                                   JUAN GUILLERMO GONZALEZ, PH.D.
                                                   DEFENDANT
                                                                 .
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                               Case No. - 22-60101-CR-AMC/BER
                                          -----------

    UNITED STATES OF AMERICA

    vs.

    JUAN GUILLERMO GONZALEZ,

                           Defendant.
    ---------------I
     FORFEITURE STIPULATION AND AGREEMENT ON INTELLECTUAL PROPERTY

           The United States of America (the "United States"), by and through the undersigned

    Assistant United States Attorneys, and Juan Guillermo Gonzalez, (the Defendant) with

    undersigned counsel , (collectively, the "Parties") hereby stipulate and agree as follows:

           1.      The Parties agree to resolve certain forfeiture concerns consistent with the sound

    policy favoring settlement of legal disputes without resort to unnecessary litigation.

           2.      The Court has jurisdiction over the Parties and the subject matter of this Forfeiture

    Stipulation and Agreement (the "Agreement").

           3.      The Agreement is incorporated into the Plea Agreement, and therefore subject to

    the approval by the Court, and a violation of any term or condition shall be construed as a violation

    of the Plea Agreement.

           4.      In the Plea Agreement, the Defendant agreed to the entry of a forfeiture money

    judgment in the amount of $1 ,749,776.80 in U.S. currency.

           5.      The Government has identified as substitute assets the following intellectual

    property (the Property):
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                  a.   U.S.   Patent No. 10,305,980;
                  b.   U.S.   Patent No. 10,114,554;
                  c.   U.S.   Patent No. 10,965 ,744;
                  d.   U.S.   Patent No. 7,849,126.

            6.         The Defendant wishes to pursue the opportunity to retain the Property. The Parties

    hereby agree that within 45 days of entry of the Defendant's guilty plea, the Defendant may retain

    a private appraiser for appraisal of the current fair market value of the Property, subject to approval

    by the United States in advance. If the Parties cannot agree on the appraiser, the Court shall decide.

    This appraisal shall be done at the Defendant' s own expense. Any appraisal must be completed no

    later than 60 days following the Defendant' s sentencing.

           7.          In lieu of forfeiture of the Property by the United States, the Defendant may make

    a payment in the amount of the current fair market value of the Property towards the outstanding

    balance of the forfeiture money judgment entered against the Defendant (the Settlement Payment).

           8.          The Defendant agrees to sign an affidavit under penalty of perjury attesting that the

    Settlement Payment is derived from a legitimate source and agrees to attach proof of the source of

    funds to such affidavit.

           9.          If the Settlement Payment is not remitted to the United States within 120 days of

    receipt of the valuation, the Defendant consents to the final forfeiture of the Property, and the

    property may be sold by the United States Marshals Service.

            10.        The United States Marshals Service may, but is not required to, use the appraisal

    provided by the Defendant.

            11.        In exchange for the Settlement Payment, the Government agrees to release from

    forfeiture proceedings the Property.

            12.        The Settlement Payment shall be applied towards the outstanding balance of the

    Defendant's forfeiture money judgment.



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            13.    This Agreement does not release the Defendant from the obligation to pay the

    outstanding balance of the Defendant's forfeiture money judgment. Income to the Defendant from

    work concerning the Property, such as from licensing or future sales of the Property for an amount

    that exceeds the Settlement Payment, is not released.

            14.    Nothing in this Agreement shall be construed to prohibit the Defendant from selling

    or licensing the Property after the Defendant remits the Settlement Payment described in paragraph

    7.

            15.    The Defendant agrees that if a determination is made to fi le for bankruptcy under

    Chapter 7 or Chapter 11 of the Bankruptcy Code, it shall notice the United States Attorney's Office

    for the Southern District of Florida no less than thirty (30) days before so filing.

            16.    The Defendant shall not commit nor allow any act to be done to diminish or

    otherwise alter the value of the Property. The Defendant hereby agrees that he will not take any

    action to encumber, transfer, dispose of or cloud the title to the Property until such payment is

    made to the United States. The Defendant further agrees that he shall continue to be responsible

    for all registrations, fees , liens, and other maintenance, claims, and encumbrances against the

    Property until such payment is made.

            17.    The parties further agree that the Settlement Payment shall be made via E lectronic

    Funds Transfer to the United States Marshals Service, in United States currency, with instructions

    to be provided by the United States Attorney ' s Office.

           18.     If property is forfeited and restoration is appropriate in this case, the U.S. Attorney' s

    Office agrees to make a non-binding request to the Chief of Money Laundering and Asset Recovery

    Section (MLARS), Criminal Division, U.S. Department of Justice, that any property obtained from the

    Defendant through forfeiture be applied to any restitution ordered by the Court and distributed to the




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    victims of the offense in accordance with any restitution order entered in this case. The Defendant

    understands the decision to apply forfeited funds in this way is in the sole discretion of MLARS and

    that neither the U.S. Attorney's Office nor MLARS made any promises about whether it will grant this

    request. The Defendant understands that if this request is denied, the Defendant wi ll be liable to pay

    restitution and forfeiture pursuant to the Plea Agreement. The Defendant understands that forfeiture

    and restitution are separate obligations and that the Court does not have the authority to offset them

    against each other.

            19.     The undersigned co unsel hereby represents he has reviewed and discussed the

    Agreement with the Defendant and has adv ised the Defendant that the terms of the Agreement are

    in his best interests.

            20.     Each of the Parties agrees to bear its own costs and attorney 's fees.

            21.     The Defendant has read and fully understands each provision of the Agreement,

    and has freely and vo luntarily signed the Agreement.

            22.     The Agreement may be executed in one or more counterparts, each of which when

    executed and delivered shall be an original, and all of which when executed shall constitute one

    and the same instrument.

                                [Remainder of page intentionally left blank]




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             23.   The Agreement contains the entire agreement between the Parties.

      FOR DEFEND A T:



                                        Juan Guillermo Gonzalez


      6/7/2022
      Date
                                        Counsel for Juan Guillermo Gonzalez


      FOR THE UNITED STATES OF AMERICA:

                                        JUA ANTONIO GONZALEZ
                                        UNITED STATES A TIORNEY



                                        G/l!Ql!iff<~
                                        Gabrielle Raemy Charest-Turken
                                        Assistant United States Attorneys




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